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                                       United States District Court
                                          Northern District of Texas
                                           1100 Commerce Street
                                            Dallas, Texas 75242

Chambers of                                                                                214/753-2400
U.S. Magistrate Judge David L. Horan




                                             March 26, 2021

      Karen Mitchell, Clerk
      United States District Court
      Northern District of Texas
      1100 Commerce Street
      Dallas, Texas 75242

                    Re:    No. 3:21-cr-122-M, USA v. Lopez

      Dear Ms. Mitchell:

            Pursuant to the provisions of 28 U.S.C. § 455, I would appreciate it if you would
      please reassign the above-referenced case to another magistrate judge for any
      matters that may be referred going forward in accordance with the usual procedure.

                                                   Sincerely,




                                                   David L. Horan

      cc:     Chief Judge Lynn
